        Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 1 of 81




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
                                             :
       v.                                    :      Case No. 22-cr-144-GMH
                                             :
RICHARD GUSTAVE OLSON, JR.                   :
                                             :      Judge G. Michael Harvey
                                             :
                        Defendant.           :

                   NOTICE OF FILING BY AMB. RICHARD OLSON OF
            ADDITIONAL DOCUMENTS REGARDING THE JULY 7, 2023, HEARING

       The Clerk of the Court shall please accept for filing, in connection with the Hearing held

on July 7, 2023, the following documents attached hereto:

       Government Exhibits 60, 65, 66, and 67: These are the unredacted versions of the

same Government Exhibits submitted with its Response to Olson Reply [ECF No. 45].

       Government Email of January 5, 2022, with allegedly “Deleted Exhibits”: This

email includes the email which the Government alleged were deleted by Amb. Olson, and is

marked here as Olson Exhibit 12.

       Olson Exhibits 1 – 11: These emails relate to the planning of the International Military

Advisory Council both before and after the Qatar Diplomatic Crisis. These emails demonstrate

that the Qatar Diplomatic Crisis arose in the midst of Amb. Olson, General Allen and Imaad

Zuberi working on the IMAC.

       WHEREFORE, Amb. Olson respectfully requests that the Clerk of the Court accept these

documents for filing.
        Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 2 of 81




Dated: July 10, 2023                Respectfully submitted,

                                    HANNON LAW GROUP, LLP

                                    ___s/J. Michael Hannon___________
                                    J. Michael Hannon, #352526
                                    1800 M Street, NW, Ste. 850-S
                                    Washington, DC 20036
                                    Tel: (202) 232-1907
                                    Fax: (202) 232-3704
                                    jhannon@hannonlawgroup.com

                                    Attorneys for Defendant Richard Gustave Olson, Jr.
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  GOVT
EXHIBIT 60
                Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 4 of 81

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&DOO PH WRPRUURZ

6HQW IURP P\ L3KRQH

2Q -XQ   DW  $0 LPDDG ]XEHUL LPDDG]XEHUL#DYHQXHYHQWXUHFRP! ZURWH



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       ZŝĐŬ KůƐŽŶ фƌŝĐŬƐĐĂĨĞĚǆďΛǇĂŚŽŽ͘ĐŽŵх
       ^ƵďũĞĐƚ͗ ZĞ͗ ŽŚĂ

       Imaad ... Rick kindly communicated with me some of your thoughts this morning. I'm
       crushed with my schedule today, but could talk on the phone at 3:00.

       I'm prepared to get on a plane tomorrow to travel to and from Doha over the weekend to
       have discussions with relevant parties there. It is not possible for me to turn a proposal
       before I get on a plane on FRI, as I have contractual/legal obligations with several
       companies, as well as Brookings, to submit any employment arrangements, beyond my
       current relationships with them, for their legal review. I have no reason to believe they
       wouldn't ultimately concur with our arrangement, but it's not possible to do this before
       tomorrow. What we can do is call and treat my visit to Doha over the weekend as "a
       speaking engagement", which I done before, for which I'd be compensated at my
       standard rate. Then we can work out the fuller arrangements of a longer term
       relationship over the weekend as I transition back and forth. I'd then take that proposal
       to my own attorney and the other companies.

       That said, I'm ready to travel tomorrow, the 9th, to Doha and return on MON, the 12th
       to the US.

       Please let me know with whom I should work on travel arrangements.

       All the best ...

       John

       2Q :HG -XQ   DW  30 -RKQ $OOHQ ZURWH

        Imaad ... It was a great pleasure meeting you this afternoon. I enjoyed our
        conversation a great deal. I want to help if I can, and if there's an intent that I help the
        Emir and Qatar, we'll need to define that relationship. I'm prepared to have another
        conversation ... if you're willing.

        In the short term, if we're seriously considering my going to Doha, I can leave FRI, but
        need to be back MON. That would give me SAT afternoon and evening and all day SUN
       Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 5 of 81

on the ground in Doha. Please let me know if there's desire for me to do this. If so, I'd
be deeply grateful if someone could assist me in procuring the airline tickets and
setting up the logistics for the trip.

We can discuss all else tomorrow if you're willing. I could meet you 5:45 pm.

I wish you a good night, Sir.

Very warmly ...

John
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  GOVT
EXHIBIT 65
Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 7 of 81
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  GOVT
EXHIBIT 66
Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 10 of 81
Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 11 of 81




  GOVT
EXHIBIT 67
Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 12 of 81
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 OLSON
EXHIBIT 12
7/10/23, 12:09 PM    Case 1:22-cr-00144-GMH Document
                                              Hannon Law55   Filed
                                                         Group        07/10/23
                                                               Mail - Plea            Page 14 of 81
                                                                           Negotiations




              Gmai                                                         J. Michael Hannon <jhannon@hannonlawgroup.com>



  Plea Negotiations
  1 message

  Turgeon, Evan (NSD) <Evan.Turgeon@usdoj.gov>                                           Wed, Jan 5, 2022 at 9:13 AM
  To: Mike Hannon <jhannon@hannonlawgroup.com>, Russell Duncan <rduncan@clarkhill.com>
  Cc: "OBrien, Daniel J. (USACAC)" <Daniel.Obrien@usdoj.gov>, Rachel Amster <ramster@hannonlawgroup.com>


    Mike and Russell,



    As Mike and I discussed yesterday afternoon, below are the government’s responses to your suggested edits to the plea
    agreement. Also, attached are copies of the emails Ambassador Olson deleted.



    Just let me know when you both are free for a call. The government is available today at 3:30 ET and tomorrow afternoon
    (except 1:00-1:30 ET).



    Thanks,

    Evan

    (202) 598-5315




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7/10/23, 12:09 PM       Case 1:22-cr-00144-GMH Document
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    Evan N. Turgeon

    Trial Attorney

    Counterintelligence and Export Control Section

    National Security Division

    U.S. Department of Justice

    Cell: (202) 598-5315



     4 attachments


https://mail.google.com/mail/u/0/?ik=7a2ff56da2&view=pt&search=all&permthid=thread-f:1721124256185281637%7Cmsg-f:1721124256185281637&s… 2/3
7/10/23, 12:09 PM    Case 1:22-cr-00144-GMH Document
                                              Hannon Law55   Filed
                                                         Group        07/10/23
                                                               Mail - Plea            Page 16 of 81
                                                                           Negotiations

          SAND 48-49.pdf
          116K
          BRG AV 131-135.pdf
          82K
          BRG AV 130.pdf
          22K
          BRG AV 484.pdf
          16K




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BRG AV 130
                      Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 18 of 81

     From:                   Ahmed AI-Rumaihi <chi974@icloud.com>
     To:                     John Allen
     CC:                     lmaad Zuberi; Richard.Olson@Avenueventure.com
     Sent:                   6/16/2017 11 :19:20 PM
     Subject:                Re: NSA



    Great. But I think after you mentioned to Mohammed bin Hamad he had the
    embassy send in a request for him.

    Sent from my iPhone

    > On Jun 16, 2017, at 7:15 PM, John Allen <j.rutherford.allen@gmail.com>
    wrote:
    >
    > This request went personally from me to him.
    >
    > John
    >
    > Sent from my iPhone
    >
    » On Jun 16, 2017, at 19:12, Ahmed AI-Rumaihi <chi974@icloud.com> wrote:
    >>
    >> Thank you for the update
    >>
    >> Sent from my iPhone
    >>
    >» On Jun 16, 2017, at 7:07 PM, John Allen <j.rutherford.allen@gmail.com>
    wrote:
    >>>
    >» Gentlemen ... I have asked the National Security Advisor to see the FM
    and Sheikh Mohammad next WED/THU. I will advise immediately when I learn
    anything.
    >>>
    >>> All the best ...
    >>>
    >>> John
    >>>
    >>> Sent from my iPhone




FOIA CONFIDENTIALITY REQUESTED                                                          BGR_AV_00000130
                            Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 19 of 81

     From:                       John Allen <j.rutherford.allen@gmail.com>
     To:                         Ahmed AI-Rumaihi
     CC:                         lmaad Zuberi; Richard.Olson@Avenueventure.com
     Sent:                       6/17/2017 12:39:35 AM
     Subject:                    Re: NSA



    The difference is the embassy request has to work its way up, our request
    will come down from above. Lets hope we make it one way or the other.

    John

    Sent from my iPhone

    > On Jun 16, 2017, at 19:12, Ahmed AI-Rumaihi <chi974@icloud.com> wrote:
    >
    > Thank you for the update
    >
    > Sent from my iPhone
    >
    » On Jun 16, 2017, at 7:07 PM, John Allen <j.rutherford.allen@gmail.com>
    wrote:
    >>
    >> Gentlemen ... I have asked the National Security Advisor to see the FM
    and Sheikh Mohammad next WED/THU. I will advise immediately when I learn
    anything.
    >>
    »    All the best ...
    >>
    >> John
    >>
    >> Sent from my iPhone




FOIA CONFIDENTIALITY REQUESTED                                                                BGR_AV_00000131
Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 20 of 81




         BRG AV
         131 - 134
                       Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 21 of 81

     From:                     Ahmed AI-Rumaihi <chi974@icloud.com>
     To:                       John Allen
     CC:                       lmaad Zuberi; Richard.Olson@Avenueventure.com
     Sent:                     6/17/2017 12:42:01 AM
     Subject:                  Re: NSA



    Yes, theirs will have to go through state. I hope yours comes back first.

    Sent from my iPhone

    > On Jun 16, 2017, at 8:39 PM, John Allen <j.rutherford.allen@gmail.com>
    wrote:
    >
    > The difference is the embassy request has to work its way up, our
    request will come down from above. Lets hope we make it one way or the
    other.
    >
    > John
    >
    > Sent from my iPhone
    >
    >> On Jun 16, 2017, at 19:12, Ahmed AI-Rumaihi <chi974@icloud.com> wrote:
    >>
    » Thank you for the update
    >>
    >> Sent from my iPhone
    >>
    »> On Jun 16, 2017, at 7:07 PM, John Allen <j.rutherford.allen@gmail.com>
    wrote:
    >>>
    >>> Gentlemen ... I have asked the National Security Advisor to see the FM
    and Sheikh Mohammad next WED/THU. I will advise immediately when I learn
    anything.
    >>>
    >>> All the best ...
    >>>
    >>> John
    >>>
    >>> Sent from my iPhone




FOIA CONFIDENTIALITY REQUESTED                                                           BGR_AV_00000132
                       Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 22 of 81

     From:                    imaad zuberi <imaad.zuberi@avenueventure.com>
     To:                      'John Allen'; 'Ahmed AI-Rumaihi'
     CC:                      Richard.Olson@Avenueventure.com
     Sent:                    6/18/2017 3:26:07 AM
     Subject:                 RE: NSA



    Thank you. I suggest either you or Rick ought to attend with Qataris. If
    we are doing the work then we should be involved
    imaad

    -----Original Message-----
    From: John Allen [mailto:j.rutherford.allen@gmail.com]
    Sent: Friday, June 16, 2017 4:07 PM
    To: lmaad Zuberi <imaad.zuberi@avenueventure.com>; Ahmed AI-Rumaihi
    <chi97 4@icloud.com>
    Cc: Richard.Olson@Avenueventure.com
    Subject: NSA

    Gentlemen ... I have asked the National Security Advisor to see the FM and
    Sheikh Mohammad next WED/THU. I will advise immediately when I learn
    anything.

    All the best ...

    John

    Sent from my iPhone




FOIA CONFIDENTIALITY REQUESTED                                                           BGR_AV_00000133
                      Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 23 of 81

     From:                   imaad zuberi <imaad.zuberi@avenueventure.com>
     To:                     'John Allen'; 'Ahmed AI-Rumaihi'
     CC:                     Richard.Olson@Avenueventure.com
     Sent:                   6/18/2017 3:32:31 AM
     Subject:                RE: NSA



    He is stupid to have the Qatari Embassy in Washington make the request
    when General Allen said he will handle it
    imaad

    -----Original Message-----
    From: John Allen [mailto:j.rutherford.allen@gmail.com]
    Sent: Friday, June 16, 2017 5:40 PM
    To: Ahmed AI-Rumaihi <chi974@icloud.com>
    Cc: lmaad Zuberi <imaad.zuberi@avenueventure.com>;
    Richard.Olson@Avenueventure.com
    Subject: Re: NSA

    The difference is the embassy request has to work its way up, our request
    will come down from above. Lets hope we make it one way or the other.

    John

    Sent from my iPhone

    > On Jun 16, 2017, at 19:12, Ahmed AI-Rumaihi <chi974@icloud.com> wrote:
    >
    > Thank you for the update
    >
    > Sent from my iPhone
    >
    » On Jun 16, 2017, at 7:07 PM, John Allen <j.rutherford.allen@gmail.com>
    wrote:
    >>
    » Gentlemen ... I have asked the National Security Advisor to see the FM
    and Sheikh Mohammad next WED/THU. I will advise immediately when I learn
    anything.
    >>
    » All the best ...
    >>
    >> John
    >>
    >> Sent from my iPhone




FOIA CONFIDENTIALITY REQUESTED                                                          BGR_AV_00000134
                         Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 24 of 81

     From:                    Ahmed AI-Rumaihi <chi974@icloud.com>
     To:                      imaad zuberi
     CC:                      John Allen; Richard.Olson@Avenueventure.com
     Sent:                    6/18/2017 4:40:13 AM
     Subject:                 Re: NSA



    I agree with lmaad

    Sent from my iPhone

    > On Jun 17, 2017, at 8:26 PM, imaad zuberi
    <imaad.zuberi@avenueventure.com> wrote:
    >
    > Thank you. I suggest either you or Rick ought to attend with Qataris. If
    we
    > are doing the work then we should be involved
    > imaad
    >
    > -----Original Message-----
    > From: John Allen [mailto:j.rutherford.allen@gmail.com]
    > Sent: Friday, June 16, 2017 4:07 PM
    > To: lmaad Zuberi <imaad.zuberi@avenueventure.com>; Ahmed AI-Rumaihi
    > <chi974@icloud.com>
    > Cc: Richard.Olson@Avenueventure.com
    > Subject: NSA
    >
    > Gentlemen ... I have asked the National Security Advisor to see the FM
    and
    > Sheikh Mohammad next WED/THU. I will advise immediately when I learn
    > anything.
    >
    > All the best ...
    >
    > John
    >
    > Sent from my iPhone
    >
    >




FOIA CONFIDENTIALITY REQUESTED                                                             BGR_AV_00000135
Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 25 of 81




BRG AV484
                       Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 26 of 81

     From:                    John Allen <JAllen@brookings.edu>
     To:                      lmaad Zuberi; lmaad Zuberi; Richard.Olson@Avenueventure.com; Rick Olson
     Sent:                    6/26/2017 12:53:15 PM
     Subject:                 WH



    lmaad and Rick ... I received a very respectful note back from the
    national security advisor, who told me that the Secretary of State
    lillerson should be the one to see the Qataris, and that he declines to
    see them while they're in Washington. I wish this was better news. As
    McMaster said. the intent is for the administration to speak with one
    voice. That's why Tillerson has lead.

    John

    Sent from my iPhone




FOIA CONFIDENTIALITY REQUESTED                                                                          BGR_AV_00000484
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                     Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 28 of 81

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           ^ĞŶƚ͗dŚƵƌƐĚĂǇ͕:ƵŶĞϴ͕ϮϬϭϳϴ͗ϰϲD
           dŽ͗/ŵĂĂĚƵďĞƌŝфŝŵĂĂĚ͘ǌƵďĞƌŝΛĂǀĞŶƵĞǀĞŶƚƵƌĞ͘ĐŽŵх͖/ŵĂĂĚƵďĞƌŝфŝŵĂĂĚ͘ǌƵďĞƌŝΛŵŝŶĚƐƉƌŝŶŐ͘ĐŽŵх͖
           ZŝĐŬKůƐŽŶфƌŝĐŬƐĐĂĨĞĚǆďΛǇĂŚŽŽ͘ĐŽŵх
           ^ƵďũĞĐƚ͗ZĞ͗ŽŚĂ

           Imaad ... Rick kindly communicated with me some of your thoughts this morning. I'm
           crushed with my schedule today, but could talk on the phone at 3:00.

           I'm prepared to get on a plane tomorrow to travel to and from Doha over the weekend to
           have discussions with relevant parties there. It is not possible for me to turn a proposal
           before I get on a plane on FRI, as I have contractual/legal obligations with several
           companies, as well as Brookings, to submit any employment arrangements, beyond my
           current relationships with them, for their legal review. I have no reason to believe they
           wouldn't ultimately concur with our arrangement, but it's not possible to do this before
           tomorrow. What we can do is call and treat my visit to Doha over the weekend as "a
           speaking engagement", which I done before, for which I'd be compensated at my
           standard rate. Then we can work out the fuller arrangements of a longer term
           relationship over the weekend as I transition back and forth. I'd then take that proposal
           to my own attorney and the other companies.

           That said, I'm ready to travel tomorrow, the 9th, to Doha and return on MON, the 12th
           to the US.

           Please let me know with whom I should work on travel arrangements.

           All the best ...

           John

           2Q:HG-XQDW30-RKQ$OOHQZURWH
           
               Imaad ... It was a great pleasure meeting you this afternoon. I enjoyed our
               conversation a great deal. I want to help if I can, and if there's an intent that I help the
               Emir and Qatar, we'll need to define that relationship. I'm prepared to have another
               conversation ... if you're willing.

               In the short term, if we're seriously considering my going to Doha, I can leave FRI, but
               need to be back MON. That would give me SAT afternoon and evening and all day SUN


CONFIDENTIAL                                                                                        PROD001_000048
                Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 29 of 81

         on the ground in Doha. Please let me know if there's desire for me to do this. If so, I'd
         be deeply grateful if someone could assist me in procuring the airline tickets and
         setting up the logistics for the trip.

         We can discuss all else tomorrow if you're willing. I could meet you 5:45 pm.

         I wish you a good night, Sir.

         Very warmly ...

         John




CONFIDENTIAL                                                                                PROD001_000049
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   OLSON
  EXHIBIT 1
        Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 31 of 81



To:       'imaad zuberi'[imaad.zuberi@avenueventure.com]
From:     Richard Olson
Sent:     Mon 4/17/2017 5:34:14 AM
Importance:         Normal
Subject: RE: InfraCapital
MAIL_RECEIVED: Mon 4/17/2017 5:34:14 AM


Yes, would be interested.



rgo

Rick Olson

Ambassador (retired)



From: imaad zuberi [mailto:imaad.zuberi@avenueventure.com]
Sent: Monday, April 10, 2017 5:10 PM
To: Richard.Olson@avenueventure.com
Subject: FW: InfraCapital




If you want I can get you the same deal as General Clark. Formerly ADIH is now
InfraCapital and it is cleaned up and starting to do lucrative deals

imaad



From: imaad zuberi
Sent: Monday, April 10, 2017 6:07 AM
To: General Wesley Clark – former NATO Supreme Commander
Subject: FW: InfraCapital




General Clark-



Per our phone conversation, here is the basic outline for InfraCapital board




                                                                                 ROMH00002944
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   Meetings once or twice a year in Dubai

You will be provided business air travel and hotel for travel related to InfraCapital or to
board meeting

   Token $25,000 per year stipend for being board member

   Negotiable percentage of what you help earn InfraCapital from your sources

Either in raising money for InfraCapital projects or bringing profitable investments to
InfraCapital to invest in (what you help earn InfraCapital)



If you are in agreement then InfraCapital will send you documents to sign



Please let me know if you have any question



Thanks

imaad




                                                                                              ROMH00002945
        Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 33 of 81



To:       Richard.Olson@avenueventure.com[Richard.Olson@avenueventure.com]
From:     imaad zuberi
Sent:     Tue 5/1/2017 9:37:55 PM
Importance:         Normal
Subject: FW: Introduction?
MAIL_RECEIVED: Tue 5/1/2017 9:38:26 PM




From: imaad zuberi
Sent: Monday, May 1, 2017 9:35 PM
To: Paul Wood – Pax Mondial
Subject: FW: Introduction?



Who else can we recommend? They hire them via us? Get me some names we can
recommend. Qatar wants to hire US consultants like Saudi has hired 10 to 20 former US
general to consult Saudi Military. It is multimillion contract

imaad



From: imaad zuberi
Sent: Monday, May 1, 2017 9:15 PM
To: Brig. Gen. Yousef Al-Kuwari
Subject: Introduction?




Who else did we talk about for introduction?



General Wesley Clark – former NATO Supreme Commander

Lt. General Mike Barbero – I think he is consulting with General Myers for Saudi
Government on what to buy from US. Qatar should do the same

General Myers – former Chairman of Joint Chiefs of Staff

Erik Prince – Blackwater founder for training of Qatar Military. He is doing thing for Abu
Dhabi Mohammad bin Zayed




                                                                                        ROMH00001491
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DynCorp - for training of Qatar Military

Paul Woods – Pax Mondial for training of Patriots Missile Batteries



imaad




                                                                          ROMH00001492
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   OLSON
  EXHIBIT 3
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To:       imaad zuberi[imaad.zuberi@avenueventure.com]
From:     imaad zuberi
Sent:     Sat 5/13/2017 1:27:27 PM
Importance:         Normal
Subject: FW: US generals to advice Qatar
MAIL_RECEIVED: Sat 5/13/2017 1:27:59 PM




From: imaad zuberi
Sent: Saturday, May 13, 2017 1:25 PM
To: Ahmed – Al-Ruhaimi - QIA
Subject: FW: US generals to advice Qatar




Here are the top names I would suggest for advice from US general for Qatar



General Wesley Clark - former US 4 Star General and NATO Supreme Commander.
Ran for President in 2004

General Michael Barbero - former 3 Star General and Commander of North Iraq
Kurdistan

Admiral Edmund Giambastiani - former Vice Chairman of the Joint Chiefs of Staff

General Richard Myers - former Chairman of the Joint Chiefs of Staff



imaad




                                                                                  ROMH00002184
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   OLSON
  EXHIBIT 4
           Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 38 of 81




From:                     "Richard Olson" <Richard.Olson@Avenueventure.com>
Sent:                     Tue, 6 Jun 2017 06:11:51 -0500
To:                       "'imaad zuberi'" <imaad.zuberi@avenueventure.com>
Subject:                  RE: Qatar



BTW, I was in touch with John Allen, and he’s interested in helping out with Qatar.
If you’d like, I can put you in direct touch.

rgo

Rick Olson
Ambassador (retired)

From: imaad zuberi [mailto:imaad.zuberi@avenueventure.com]
Sent: Monday, June 05, 2017 3:22 PM
To: 'Richard Olson'
Subject: RE: Qatar

I saw your missed call. I was at doctor office. I will call you

From: Richard Olson [mailto:Richard.Olson@Avenueventure.com]
Sent: Monday, June 5, 2017 5:12 AM
To: 'imaad zuberi' <imaad.zuberi@avenueventure.com>; 'John Sandweg' <john.sandweg@frsdc.com>;
'Ahmed Al-Rumaihi' <chi974@icloud.com>
Subject: RE: Qatar

Yes, I’ll be there.

rgo

Rick Olson
Ambassador (retired)

From: imaad zuberi [mailto:imaad.zuberi@avenueventure.com]
Sent: Saturday, June 03, 2017 3:54 PM
To: 'John Sandweg'; Ahmed Al-Rumaihi; Richard.Olson@avenueventure.com
Subject: FW: Qatar

Ahmed, Rick and John-

Can we meet on Tuesday June 6 at 12 Noon for lunch at Ritz Carlton on 22nd Street

imaad

From: John Sandweg <john.sandweg@frsdc.com>
Date: June 2, 2017 at 3:22:05 PM PDT
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To: imaad zuberi <imaad.zuberi@mindspring.com>
Subject: Qatar

     Imaad-

     Good speaking with you about the Qatar issue. As we discussed, we are very well
     qualified to assist with this project.

     Our strategy would be to assemble a team of the former heads of U.S. agencies in
     charge of combatting terror financing. This team would include very senior officials
     from the Department of Justice, the Federal Bureau of Investigation, the CIA, the
     Treasury Department and the Department of Homeland Security.

     Our team would prepare a comprehensive report documenting Qatar's assistance in
     the global fight against terror and would dispel any myths that Qatar is in any way
     providing support to terror organizations. After the preparation of this report, our
     team would share the findings with senior Trump Administration officials and
     publicize the findings of the report with key congressional offices and media outlets
     (through op-eds and placed stories). I am happy to provide specific names of team
     members upon request, but our team would include the following former officials:

            Attorney General of the United States;
            Former head of the FBI's Terrorism Financing Section;
            Former Deputy Undersecretary for Terrorism Financing at the Department of
             the Treasury;
            Former Director of U.S. Immigration and Customs Enforcement;
            Former United States Attorney and Director of the ATF;
            Former head of Homeland Security Investigations National Security and
             Financial Crimes Section.
     Fee wise, this work would typically require a monthly retainer of $150,000 plus
     expenses. Per our discussions, and as a courtesy to you, we could perform this work
     at a discounted rate of $125,000. At a minimum, this project would take at least 6
     months (4 months to conduct due diligence and prepare the report and 2 months of
     publicizing the findings).

     Happy to provide a more specific proposal or discuss further at your convenience.

     JS




     John Sandweg
     202-754-2303 (C)
     202-754-2891 (O)
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John.Sandweg@frsdc.com

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   OLSON
  EXHIBIT 5
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To:       'John Allen'[j.rutherford.allen@gmail.com]; 'Richard
Olson'[Richard.Olson@Avenueventure.com]
From:     imaad zuberi
Sent:     Thur 6/7/2017 10:42:57 PM
Importance:          Normal
Subject: RE: Doha
MAIL_RECEIVED: Thur 6/7/2017 10:43:29 PM


Likewise. It was pleasure meeting you



Yes it would be great to meet again however I have a flight to Los Angeles at 5pm. Please let me know if
you and Rick have time prior 3pm?



Thanks

imaad



From: John Allen [mailto:j.rutherford.allen@gmail.com]
Sent: Wednesday, June 7, 2017 6:24 PM
To: Imaad Zuberi <imaad.zuberi@avenueventure.com>; Imaad Zuberi
<imaad.zuberi@mindspring.com>; Rick Olson <rickscafedxb@yahoo.com>
Subject: Doha




Imaad ... It was a great pleasure meeting you this afternoon. I enjoyed our conversation
a great deal. I want to help if I can, and if there's an intent that I help the Emir and
Qatar, we'll need to define that relationship. I'm prepared to have another conversation
... if you're willing.



In the short term, if we're seriously considering my going to Doha, I can leave FRI, but
need to be back MON. That would give me SAT afternoon and evening and all day SUN
on the ground in Doha. Please let me know if there's desire for me to do this. If so, I'd
be deeply grateful if someone could assist me in procuring the airline tickets and setting
up the logistics for the trip.



We can discuss all else tomorrow if you're willing. I could meet you 5:45 pm.




                                                                                                      ROMH00002788
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I wish you a good night, Sir.



Very warmly ...



John




                                                                         ROMH00002789
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   OLSON
  EXHIBIT 6
7/21/2019           Case 1:22-cr-00144-GMH Document
                                                Yahoo55
                                                      Mail -Filed   07/10/23
                                                             RE: Intro ·     Page 45 of 81


     RE: Intro

     From: imaad zuberi (imaad.zuberi@avenueventure.com)

     To:     j.rutherford.allen@gmail.com; rickscafedxb@yahoo.com
     Cc:     imaad.zuberi@mindspring.com

     Date: Wednesday, June 7, 2017, 07:03 AM EDT


     Ambassador Olson-thanks for the introduction
     General Allen-will you have time today to meet? I am not checking my emails regularly while in
     Washington so please call me on my mobile 213.712.8888 when you get a ch~nce
     Thanks

     imaad




      From: John Allen [mailto:j.rutherford.allen@gmail.com]
      Sent: Tuesday, June 6, 2017 6:00 PM
      To: Rick Olson <rickscafedxb@yahoo.com>
      Cc: lmaad Zuberi <imaad.zuberi@mindspring.com>; lmaad Zuberi
      <imaad.zuberi@avenueventure.com>
      Subject: Re: Intro


      Thank you, Rick.



      My very best ...



      John




      On Tue, Jun 6, 2017 at 8:42 PM, Rick Olson <rickscafedxb@Y.ahoo.com> wrote:




            John: lmaad is tied up in a dinner with the VP, but he is very
            interested in getting together. I think he will be in touch later,
            but just wanted to acknowledge receipt of your message and
            give an interim reply.

                                                                                                                 1/2
                                                                                                      ROMH00000326
7/21/2019                Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 46 of 81
                                                     Yahoo Mail - RE: Intro




            rgo

            Rick Olson




            From: John Allen <j.rutherford.allen@gmail.com>
            f o: Rick Olson <rickscafedxb@Y.ahoo.com>
            Cc: lmaad Zuberi <imaad.zuberi@mindsP-ring.com>; lmaad Zuberi <imaad.zuberi@avenyeventure.com>
            Sent: Tuesday, June 6, 2017 3:16 PM
            Subjectz Re: Intro




            Rick and lmaad ... good afternoon. I could meet mid-afternoon tomorrow (WED). Please let me know a favored
            location.



            My very best ...



            John

            Sent from my iPhone


            On Jun 6, 2017, at 11:37, Rick Olson <rickscafedxb@Y.ahoo.com> wrote:



             John: with this email am introducing you to lmaad Zuberi, Vice Chairman of Avenue Ventures. lmaad is on
             Washington today and tomorrow and would like to meet you if your schedule permits. Please advise.



             Best,



             Sent from Yahoo Mail for iPhone




                                                                                                                            2/2
                                                                                                                 ROMH00000327
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   OLSON
  EXHIBIT 7
        Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 48 of 81



To:       Richard.Olson@avenueventure.com[Richard.Olson@avenueventure.com]
Cc:       Imaad Zuberi[imaad.zuberi@avenueventure.com]
From:     Imaad Zuberi
Sent:     Sun 6/10/2017 6:07:18 PM
Importance:         Normal
Subject: Fw: White paper
MAIL_RECEIVED: Sun 6/10/2017 6:07:53 PM
Qatar White Paper v2.0.docx



Sent from my BlackBerry 10 smartphone.
 Original Message
From: Michael Barbero <mbarbero76@gmail.com>
Sent: Saturday, June 10, 2017 11:42 PM
To: aa@orycap.com
Cc: imaad zuberi
Subject: White paper

Hello Ahmed,
It was a pleasure to meet you this week. Thanks to Imaad for the introduction.

I have attached a very basic white paper, as you requested on the Senior Advisor mission. This is very
doable.

Please provide your comments and let’s move forward on this.

Best,
Mike Barbero

Michael D. Barbero
LTG (Ret) US Army.




                                                                                                         ROMH00002240
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  PROPOSAL FOR A COMPREHENSIVE AND LONG‐TERM PROJECT TO ADVISE
         THE GOVERNMENT OF QATAR ON SECURITY AND THE
       MODERNIZATION OF SECURITY FORCES AND INSTITUTIONS


OVERALL:
Build a team of very Senior, experienced retired United States Military and Security
Leaders to serve on a standing Senior Advisor Council to the leaders of The State of
Qatar.

Recognizing the Security Forces of the State of Qatar are committed to the defense of
the State of Qatar, I recommend the creation of a Senior Advisor Council and the
execution of an advisory mission to work with the Leadership of the State of Qatar
to develop support to the State, Security Forces, and Institutions supporting the
sovereignty of Qatar.

The Senior Advisor Council and supporting team will have extensive experience in
building institutional organizational capabilities for the US Armed Forces and
Department of Defense. We would bring our experience and tailor our advice to help
the State of Qatar to meet the contemporary missions and tasks for operations in the
region for combating terrorism, insurgencies, and conventional threats and
strategies. Moreover, our team will possess recent experience in providing train‐and‐
equip mission support to the Iraqi, Afghan, the UAE and other GCC nations, NATO
involving a wide variety of missions and situations. Additionally, our combat
experienced team possesses extensive experience in developing security capabilities
in conducting and a wide array of warfighting function to include leading land,
naval, air and special operations as part of the US led joint and coalition force in the
Middle East and Afghanistan.


Overview of Project: I have organized this project into three phases:
   1. Phase 1: A series of initial meetings with the Senior Security Leaders of the
      State of Qatar to understand the requirements for this mission and develop
      an initial concept to advise Qatari security forces and institutions resulting in
      a detailed concept and proposal outlining a comprehensive program to
      advise and assist security forces and institutions of the State of Qatar.
   1. Phase 2: A short‐term project to conduct a detailed, on‐the‐ground
      assessment of State of Qatar security forces and institutions leading to a
      detailed concept and proposal for a Senior Advisory Council to work with the
      government of Qatar.
   2. Phase 3: A multi‐year program of Senior Advisory Council to advise Senior
      Qatari Security Leaders to improve the capabilities and modernize State of
      Qatar security forces and institutions.




                                                                                           ROMH00002241
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       I am prepared to meet with key leaders to have a discussion on the needs and
requirements of the State of Qatar, and to discuss the design of our Senior Advisory
Group to ensure that our experience, capabilities, and approach to supporting this
mission are in alignment.



Michael D. Barbero
Lieutenant General (Ret)
US Army




                                                                                       ROMH00002242
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   OLSON
  EXHIBIT 8
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From:                 "imaad zuberi" <imaad.zuberi@avenueventure.com>
Sent:                 Tue, 13 Jun 2017 18:35:24 -0500
To:                   "'John Sandweg'" <john.sandweg@frsdc.com>; "'Ahmed Al-Rumaihi'"
<chi974@icloud.com>
Cc:                   "Richard.Olson@avenueventure.com" <Richard.Olson@avenueventure.com>
Subject:              RE: White paper for Qatar
Importance:           High




Ambassador Olson-

The ball is in your court. Please make this happen soon. I think General Allen is already on
board. You need 8 or 9 more generals 3 Starts or higher

Please let us put proposal together and get this going

imaad

From: John Sandweg [mailto:john.sandweg@frsdc.com]
Sent: Tuesday, June 13, 2017 12:53 PM
To: Ahmed Al-Rumaihi <chi974@icloud.com>
Cc: imaad zuberi <imaad.zuberi@avenueventure.com>; Richard.Olson@avenueventure.com
Subject: Re: White paper for Qatar

This could be a significant help on the PR side.

On Tue, Jun 13, 2017 at 3:25 PM, Ahmed Al-Rumaihi <chi974@icloud.com> wrote:



  That would be perfect

  Sent from my iPhone

  On Jun 12, 2017, at 4:47 PM, imaad zuberi <imaad.zuberi@avenueventure.com> wrote:

        Hello Ahmed-



        Per our conversation with your Defense Minister tonight, it would be best if
        Ambassador Richard Olson was to take the lead on this and put the group
        of generals together for this project



        Thanks
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imaad
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   OLSON
  EXHIBIT 9
         Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 55 of 81



Cc:       Richard Olson[Richard.Olson@avenueventure.com]
To:       Rick Olson[rickscafedxb@yahoo.com]
From:     John Allen
Sent:     Sun 6/17/2017 7:44:22 PM
Importance:          Normal
Subject: Re: List
MAIL_RECEIVED: Sun 6/17/2017 7:44:26 PM

Rick ... you mentioned a good colonel to act as executive secretary of the council. As I've
mentioned, I have a few in mind. Depending on how we're organized, we might need someone
to run the administration of the council. As an ambassador, I know you know the value of a
good Gunny. I know one or two we could get quite reasonably.

All the best ...

John

Sent from my iPhone

On Jun 17, 2017, at 19:09, Rick Olson <rickscafedxb@yahoo.com> wrote:


  Thanks John. Either email is fine, although I tend to check
  Yahoo more frequently. I will get working on a proposal and
  get back to you shortly.

  rgo

  Rick Olson




  From: John Allen <j.rutherford.allen@gmail.com>
  To: Richard Olson <Richard.Olson@avenueventure.com>; Rick Olson <rickscafedxb@yahoo.com>
  Sent: Saturday, June 17, 2017 5:05 PM
  Subject: List

  Rick ... which email do you prefer I use? AvenueVentures or Yahoo?

  In terms of the "International Military Advisory Council" (my term), how many do
  we want? Would there be latitude for any non-US presence? I'm thinking of a
  couple UK generals who could tie them back into the UK as well.




                                                                                              ROMH00002984
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We're heavy here on commander with unified command, wartime theater
commander, special operations command, and security cooperation and strategic
planning capabilities.

There are others, but these are the first to come to mind.

Four Stars

  -- GEN Stan McCrystal, USA (Ret.) ... former JSOC commander and former ISAF
Commander, AFG

  -- GEN Carter Ham, USA (Ret.) ... former USAFRICOM Commander

  -- GEN Jim Conway, USMC (Ret.) ... former Commandant of the Marine Corps;
former Commander of I Marine Expeditionary Force in the assault on Baghdad in
2003.

Three Stars

  -- LTG James Terry, USA, (Ret.) ... former 5th Corps in Europe, former IJC
Commander in Afghanistan; former Commander, Operation Inherent Resolve
against the Islamic State

  -- LTG Bennet Sacolick, USA (Ret.) ... former Delta Force Commander; form
Chief of Strategic Plans, National Counter Terrorism Center (NCTC)

  -- LtGen Mark USMC (Ret.) ... former Deputy Commandant for Logistics and
Installations, US Marine Corps, and former J4, the Joint Staff, for Logistics

  -- VADM Mike Lefebve, USN (Ret.) ... former Commander, ODRP Pakistan;
former Chief of Strategic Plans, National Counter Terrorism Center (NCTC)

 -- VADM Mark Fox, USN (Ret.) ... former Commander, 5th US Fleet; former
Deputy Commander, USCENTCOM




                                                                                ROMH00002985
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 OLSON
EXHIBIT 10
        Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 58 of 81



To:       'John Allen'[j.rutherford.allen@gmail.com]
From:     Richard Olson
Sent:     Mon 6/19/2017 2:38:19 AM
Importance:          Normal
Subject: RE: Proposal
MAIL_RECEIVED: Mon 6/19/2017 2:38:19 AM


Many thanks.



rgo

Rick Olson

Ambassador (retired)




From: John Allen [mailto:j.rutherford.allen@gmail.com]
Sent: Monday, June 19, 2017 1:10 AM
To: Richard Olson
Subject: Re: Proposal




Rick ... great job! Here's my first cut.



A quick look at the QAF and it's very small and mostly equipped with ... for now ... non-
US equipment.



Some thoughts:



  -- how long will the IMAC exist?

  -- is the IMAC simply advisory or is that and is it to oversee a major
reform/modernization program? The answer to this question takes us in very different
directions.

  -- we're going to need to understand the role of the Turks in Qatar. Their troop
presence will be nearly half as large and the entire Q ground forces




                                                                                       ROMH00003093
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  -- I think we grow the IMAC slowly. Too many GOs, too fast and I believe we'll be
falling all over ourselves.



Please let me know your questions ...



John



On Sun, Jun 18, 2017 at 9:00 PM, John Allen <j.rutherford.allen@gmail.com> wrote:

I have this, Rick and will mark-up the brief itself.



John



On Sun, Jun 18, 2017 at 11:02 AM, Richard Olson <Richard.Olson@avenueventure.com>
wrote:

John: here is a first cut on a slide deck. If you have any thoughts, would welcome
them.



rgo

Rick Olson

Ambassador (retired)




                                                                                      ROMH00003094
          Case 1:22-cr-00144-GMH Document 55 Filed 07/10/23 Page 60 of 81



To:       Richard Olson[Richard.Olson@avenueventure.com]
From:     John Allen
Sent:     Mon 6/18/2017 10:10:04 PM
Importance:          Normal
Subject: Re: Proposal
MAIL_RECEIVED: Mon 6/18/2017 10:10:06 PM
JRA - Qatar Presentation.pptx

Rick ... great job! Here's my first cut.

A quick look at the QAF and it's very small and mostly equipped with ... for now ... non-
US equipment.

Some thoughts:

  -- how long will the IMAC exist?
  -- is the IMAC simply advisory or is that and is it to oversee a major
reform/modernization program? The answer to this question takes us in very different
directions.
  -- we're going to need to understand the role of the Turks in Qatar. Their troop
presence will be nearly half as large and the entire Q ground forces
  -- I think we grow the IMAC slowly. Too many GOs, too fast and I believe we'll be
falling all over ourselves.

Please let me know your questions ...

John

On Sun, Jun 18, 2017 at 9:00 PM, John Allen <j.rutherford.allen@gmail.com> wrote:

  I have this, Rick and will mark-up the brief itself.

  John

  On Sun, Jun 18, 2017 at 11:02 AM, Richard Olson <Richard.Olson@avenueventure.com>
  wrote:

    John: here is a first cut on a slide deck. If you have any thoughts, would
    welcome them.



    rgo

    Rick Olson

    Ambassador (retired)




                                                                                       ROMH00003098
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                                                                  ROMH00003099
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         International Military
           Advisory Council
      A proposal for the Government of
                    Qatar




                                                                  ROMH00003100
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                 The Challenge
• Qatar: a prosperous country with a tiny
  population residing in the one of the
  world’s toughest neighborhoods


Qatar Armed Defense Forces already very capable, but
demographically outpaced by neighbors, especially Iran




                                                                   ROMH00003101
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                    The Answer

      Sophisticated, coherent and capable armed forces,
    possessing advanced weaponry, and interoperable with
      the US and NATO, allowing Qatar to significantly
                  leverage its demography
      But to attain realize the full benefits of reform and
    modernization, including advanced weapons systems,
    Qatar needs a detailed, capabilities based procurement
      system that enables allows integration of various
     systems, and creates a flexible, agile force capable of
                   operating on a joint basis.




                                                                  ROMH00003102
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                   The proposal
A team of Senior, retired U.S. Military Officers
to serve as a International Military Advisory
Council for Qatar
• Team Composition: 10 retired Senior officers
  (3 and 4 star) with regional expertise who
  have commanded troops, who possess
  extensive experience in combat, and who
  possess requisite experience in force
  development and acquisition and
  procurement. to trained and equipped forces,
  have regional expertise.




                                                                   ROMH00003103
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International Military Advisory Council

• Team will include officers with backgrounds in:
   – Ground Forces (including integrated air and missile
     defense and operational logistics)
   – Aviation
   – Naval Forces
   – Special Operations Forces (including intelligence and
     information operations)
• Support:
   – One retired 0-6 to serve as Executive Secretary
   – One retired E-7 to coordinate administration and
     logistics




                                                                   ROMH00003104
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                           IMAC
• General/Flag officers will have experience
  in building the institutions that will allow
  GOQ to combat terrorism, conduct
  counter-insurgency operations, face
  conventional military threats and support
  coalition operations. (this is excellent)




                                                                   ROMH00003105
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          The team will also have personal
       experience in conducting war-fighting
      operations including supporting the full
         range of intelligence activities and
          conducting operational logistics.




                                                                  ROMH00003106
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                        Phasing
• Phase 1: mobilization of senior leadership team.
• Phase 2: initial meetings with Qatari leadership
  (MOD, others as appropriate) to develop an initial
  concept and the Terms of Reference (TOR) to
  advise Qatar Forces and develop an overall
  concept and terms of reference.
• Phase 3: A detailed An on the ground assessment
  of state of Armed forces leading to a detailed
  proposal for senior Advisory council to work with
  Government of Qatar.




                                                                   ROMH00003107
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• Phase 4: Implementation




                                                                   ROMH00003108
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               Business Details
• Avenue Ventures to be the lead for the
  International Military Advisory Council
  (IMAC).
• IMAC members will work through a hiring
  agreement for Avenue Ventures, which will
  hold the contract with GOQ.
• There will be no requirement for FARA
  registration, i.e., no expectation of lobbying or
  acting in the US as a foreign agent.
• All arrangements to be in accordance with
  Ethics regulations for DOD or other agencies.




                                                                   ROMH00003109
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• Council members will be available to
  travel to Qatar for one week each month.
• All travel (business class) and expenses
  will be covered by Qatar.




                                                                   ROMH00003110
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To:       John Allen[j.rutherford.allen@gmail.com]; Richard Olson[Richard.Olson@Avenueventure.com]
From:     Rick Olson
Sent:     Sun 6/18/2017 3:47:09 PM
Importance:         Normal
Subject: Re: List
MAIL_RECEIVED: Sun 6/18/2017 3:47:14 PM

Right, but what's his last name? Below only has Mark


Sent from Yahoo Mail for iPhone


On Sunday, June 18, 2017, 16:17, John Allen <j.rutherford.allen@gmail.com> wrote:

  No, Rick, he did both jobs which made him the "senior most" logistics officer in the US
  Joint Force ... including the Marine Corps.

  All the best ...

  John

  Sent from my iPhone

  On Jun 18, 2017, at 10:53, Richard Olson <Richard.Olson@Avenueventure.com> wrote:


  John:

  See highlighted section below, I think there is a last name missing…



  Thanks



  rgo

  Rick Olson

  Ambassador (retired)




  From: John Allen [mailto:j.rutherford.allen@gmail.com]
  Sent: Saturday, June 17, 2017 5:05 PM




                                                                                                ROMH00002975
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To: Richard Olson; Rick Olson
Subject: List




Rick ... which email do you prefer I use? AvenueVentures or Yahoo?



In terms of the "International Military Advisory Council" (my term), how many do we
want? Would there be latitude for any non-US presence? I'm thinking of a couple UK
generals who could tie them back into the UK as well.



We're heavy here on commander with unified command, wartime theater commander,
special operations command, and security cooperation and strategic planning capabilities.



There are others, but these are the first to come to mind.



Four Stars



  -- GEN Stan McCrystal, USA (Ret.) ... former JSOC commander and former ISAF
Commander, AFG



  -- GEN Carter Ham, USA (Ret.) ... former USAFRICOM Commander



  -- GEN Jim Conway, USMC (Ret.) ... former Commandant of the Marine Corps; former
Commander of I Marine Expeditionary Force in the assault on Baghdad in 2003.



Three Stars




                                                                                            ROMH00002976
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   -- LTG James Terry, USA, (Ret.) ... former 5th Corps in Europe, former IJC Commander
in Afghanistan; former Commander, Operation Inherent Resolve against the Islamic State



   -- LTG Bennet Sacolick, USA (Ret.) ... former Delta Force Commander; form Chief of
Strategic Plans, National Counter Terrorism Center (NCTC)



  -- LtGen Mark USMC (Ret.) ... former Deputy Commandant for Logistics and
Installations, US Marine Corps, and former J4, the Joint Staff, for Logistics



  -- VADM Mike Lefebve, USN (Ret.) ... former Commander, ODRP Pakistan; former
Chief of Strategic Plans, National Counter Terrorism Center (NCTC)



  -- VADM Mark Fox, USN (Ret.) ... former Commander, 5th US Fleet; former Deputy
Commander, USCENTCOM




                                                                                          ROMH00002977
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To:       Richard.Olson@avenueventure.com[Richard.Olson@avenueventure.com]
From:     Michael Barbero
Sent:     Sun 6/18/2017 3:32:22 PM
Importance:         Normal
Subject: Re: Introduction
MAIL_RECEIVED: Sun 6/18/2017 3:32:26 PM

Hello Ambassador,
It is good to reconnect, we met when you were Ambassador in Qatar, and I was visiting from
Baghdad.
Are you available on Monday or Tuesday for a call?
Thanks,
Mike Barbero
On Jun 16, 2017, at 12:04 PM, Imaad Zuberi <imaad.zuberi@avenueventure.com> wrote:

                              Hello Gen Barbero‐
Can you please talk to Ambassador Richard Olson regarding Qatar project similar to
                                 Saudi project

                            Hello Ambassador Olson‐
 Can you please connect with Gen. Barbero to see what we can propose to Qataris

I am copying USC Marshall School of Business Professor Michael Mische and former
               KPMG Partner to support you guys in presentation

     It would be good if we can put something together with a week to 10 days

                                 Thanking you in advance
                                         imaad

                       Sent from my BlackBerry 10 smartphone.




                                                                                             ROMH00002960
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 OLSON
EXHIBIT 11
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To:       'imaad zuberi'[imaad.zuberi@avenueventure.com]
From:     Richard Olson
Sent:     Fri 6/23/2017 5:11:26 AM
Importance:          Normal
Subject: RE: GO/FO List
MAIL_RECEIVED: Fri 6/23/2017 5:11:26 AM


Imaad: These are very serious and respected individuals, and ones who will do the
work. McChrystal has a lot of other jobs, as do all the name brand GOs. The
question is what do the Qataris want. If they want a dog and pony show, that is one
thing, but that will not generate a serious reform of their Armed Forces, and will not
have any lasting impact. It will also mean a very short term contract. If they want
something sustained, they should think about serious people. So, are the Qataris
serious?




rgo

Rick Olson

Ambassador (retired)



From: imaad zuberi [mailto:imaad.zuberi@avenueventure.com]
Sent: Thursday, June 22, 2017 3:01 AM
To: 'Richard Olson'
Subject: FW: GO/FO List




I only know Gen Stan McCrystal out of all these. Qataris like name brand? We can
discuss on the phone

imaad



                    From: Richard Olson <Richard.Olson@Avenueventure.com>

                            Sent: Wednesday, June 21, 2017 4:18 AM

                                        To: 'imaad zuberi'




                                                                                         ROMH00002916
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                                  Subject: GO/FO List




Imaad: Here is a preliminary list that I pulled together with input from General Allen
Still a work in progress.




Four Stars



-- GEN Stan McCrystal, USA (Ret.) ... former JSOC commander and former ISAF
Commander, AFG; currently teaching at Yale and heads McCrystal Solutions.



-- GEN Carter Ham, USA (Ret.) ... former USAFRICOM Commander, currently
head of the Association of the US Army (AUSAS)



-- GEN Jim Conway, USMC (Ret.) ... former Commandant of the Marine Corps;
former Commander of I Marine Expeditionary Force in the assault on Baghdad in
2003.



GEN Norton Shwartz, USAF. Former Chief of Staff of US Air Force



GEN John C. Campbell, USA (ret). Former Comander International Security
Assistance Force, Afghanistan.



Three Stars




                                                                                     ROMH00002917
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-- LTG James Terry, USA, (Ret.) ... former 5th Corps in Europe, former IJC
Commander in Afghanistan; former Commander, Operation Inherent Resolve against
the Islamic State



  -- LTG Bennet Sacolick, USA (Ret.) ... former Delta Force Commander; form
Chief of Strategic Plans, National Counter Terrorism Center (NCTC)



  -- LtGen Mark Faulkner USMC (Ret.) ... former Deputy Commandant for
Logistics and Installations, US Marine Corps, and former J4, the Joint Staff, for
Logistics



  -- VADM Mike Lefebvre, USN (Ret.) ... former Commander, ODRP Pakistan;
former Chief of Strategic Plans, National Counter Terrorism Center (NCTC)



  -- VADM Mark Fox, USN (Ret.) ... former Commander, 5th US Fleet; former
Deputy Commander, USCENTCOM



LtGen Tony Rock (ret), former Chief of the Office of the Defense Representative
Pakistan




                                                                                    ROMH00002918
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rgo

Rick Olson

Ambassador (retired)




                                                                         ROMH00002919
